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                         EXHIBIT .
  Case 2:18-mc-01001-WSH                    Document 456-11                 Filed 03/25/21             Page 2 of 17


From:            Sarah R. LaFreniere
To:              Schnapp, Brian; Warren, Zachary; Jhunjhnuwala, Trisha; Choi, Sam (EXTERNAL CONTACT; Kerry Klein; Myers,
                 Jonathan R; Brownstein, David (EXTERNAL CONTACT; Knight, Christopher A.; eunice.kim@sidley.com; Nowak,
                 Richard; Schuman, Rachel (EXTERNAL CONTACT; Ellis, Abram J; Marovitz, Andrew S.; Streit, Ryan; Atkins, Alden
                 L.; Jackson, Martin B.
Cc:              Jason Hartley; William Pietragallo II; MDI; Peter St. Tienne Wolff
Subject:         RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review
Date:            Monday, March 22, 2021 6:33:46 PM


Brian,

Thank you for your letter. We have addressed many of the points you raise in our prior
correspondence, and write to address a few further matters, and search terms, as indicated below.

During our meet and confer last Friday Defendants asked why Plaintiffs’ proposed recall estimate is
more robust than Defendants’. In short, Defendants’ recall estimate is biased, overstates the
number of responsive documents collected, and will not be estimated within +/- 2%.

First, it is biased because it relies on the result of the elusion test to determine how many responsive
documents were missed. But the individual reviewing documents for the elusion test knows the
prior coding (non-responsive) and is therefore more likely to code documents as non-responsive,
deflating the true result of the elusion test. Plaintiffs’ proposal includes blind review of samples of
both responsive and non-responsive documents, where the reviewer is not told the prior coding.
This provides non-biased results.

Second, Defendants’ recall estimate presumes that all documents collected are in fact responsive
(high precision). This is false. Reviewers will make mistakes and some of the documents collected will
be non-responsive. By counting false positives as responsive documents the recall estimate will be
inflated. Plaintiffs’ proposal eliminates this concern by estimating precision through one of the
stratified samples.

Third, your letter suggests that the +/- 2% margin of error used to determine the number of
documents for the richness and elusion samples also reflects the margin of error for Defendants’
recall estimate. This is incorrect. The margin of error for recall will be much greater because the
margins of error are compounded, and because the margin of error fails to account for human error
– which will far exceed +/- 2%. Because Plaintiffs’ estimation of recall is based on non-biased
stratified sampling, and does not rely on an initial richness estimation or elusion test (each of which
have their own margins of error), it will result in a far more precise estimate of recall than
Defendants’ proposal.

Your letter also raises the Broiler Chickens’ methodology. The parties in that case agreed that
search-term pre-culling would not be applied to a certain number of custodians. Are Defendants
willing to agree to apply TAR to the entire collections for certain custodians as was agreed to in that
case?

We stand by our prior letters expressing our concerns about Defendants’ TAR methodologies, and
reiterate our compromise proposal of eliminating Defendants’ richness sample and elusion test in
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favor of Plaintiffs’ stopping criteria and validation methodology, which we understand from
Defendants’ last letter that they will not adopt.

As to search terms, Plaintiffs propose the following changes based on Defendants’ 3/18 proposal.
Unless indicated below, we stand by our positions in the spreadsheet circulated on 3/11.



 Plaintiffs’ 3/11 Term             Defendants’ Position                Plaintiffs’ 3/19 proposal
 (meet* OR discuss* OR             Strike                              (meet* OR discuss* OR
 consul*) w/10 (cost* OR                                               consul*) w/10 (cost* OR
 customer* OR industr* OR                                              customer* OR industr* OR
 pric* OR “market division” OR                                         pric* OR “market division”
 purchas* OR supply OR                                                 OR purchas* OR supply OR
 capacity OR estimat*)                                                 capacity OR estimat*)
 (meet* OR met OR visit* OR        Strike                              Plaintiffs propose to split
 breakfast OR dinner OR lunch                                          this into two strings, to
 OR golf OR drink* OR coffee*                                          eliminate the possibility of
 OR restaurant OR hotel OR club                                        “Call” AND “Notes” – as
 OR conference OR convention                                           follows:
 OR discuss* OR communicat*
 OR conversation OR telco OR                                           (meet* OR met OR visit* OR
 teleco* OR phone OR call OR                                           breakfast OR dinner OR
 attend* OR participa*) AND                                            lunch OR golf OR drink* OR
 (increas* OR inventor* OR                                             coffee* OR restaurant OR
 market OR OR minutes OR                                               hotel OR club OR
 notes OR notic* OR pric* OR                                           conference OR convention
 produc* OR “record of”)                                               OR discuss* OR
                                                                       communicat* OR
                                                                       conversation OR telco OR
                                                                       teleco* OR phone OR call
                                                                       OR attend* OR participa*)
                                                                       AND (increas* OR inventor*
                                                                       OR market OR OR minutes
                                                                       OR notes OR notic* OR
                                                                       pric* OR produc* OR
                                                                       “record of”)

                                                                       Call AND (increas* OR
                                                                       inventor* OR market OR OR
                                                                       minutes OR notes OR notic*
                                                                       OR pric* OR produc* OR
                                                                       “record of”)
 (meet* OR met OR visit* OR         Strike                             Plaintiffs propose to split
 breakfast OR dinner OR lunch                                          this into two strings, to
 OR golf OR drink* OR coffee*                                          eliminate the possibility of
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OR restaurant OR hotel OR club                                “discuss” AND “report” – as
OR conference OR convention                                   follows:
OR discuss* OR communicat*
OR conversation OR telco OR                                   (meet* OR met OR visit* OR
teleco* OR phone OR call OR                                   breakfast OR dinner OR
attend* OR participa*) AND                                    lunch OR golf OR drink* OR
(ROM OR rais* OR report* OR                                   coffee* OR restaurant OR
suppl* OR statistic* OR swap*                                 hotel OR club OR
OR WG)                                                        conference OR convention
                                                              OR discuss* OR
                                                              communicat* OR
                                                              conversation OR telco OR
                                                              teleco* OR phone OR call
                                                              OR attend* OR participa*)
                                                              AND (ROM OR rais* OR
                                                              report* OR suppl* OR
                                                              statistic* OR swap* OR WG)

                                                              Discuss* AND (ROM OR
                                                              rais* OR report* OR suppl*
                                                              OR statistic* OR swap* OR
                                                              WG)
(meet* OR met OR visit* OR       Strike – duplicative         Agree to strike
breakfast OR dinner OR lunch
OR golf OR drink* OR coffee*
OR restaurant OR hotel OR club
OR conference OR convention
OR discuss* OR communicat*
OR conversation OR telco OR
teleco* OR phone OR call OR
attend* OR participa*) AND
[Producers 5]
(suppl* OR strateg* OR           Strike                       Plaintiffs propose splitting
capacity) AND (collu* OR                                      into two strings:
collaborat* OR coopera* OR
conspir* OR exchang* OR                                       (suppl* OR strateg* OR
promis* OR understand* OR                                     capacity) AND (collu* OR
“work together”)                                              collaborat* OR coopera* OR
                                                              conspir* OR exchang* OR
                                                              promis* OR understand*
                                                              OR “work together”)

                                                              (suppl* OR strateg* OR
                                                              capacity) w/12 “work
                                                              together”
   Case 2:18-mc-01001-WSH                     Document 456-11               Filed 03/25/21           Page 5 of 17


 [MDI or TDI 1-3] w/20                     [MDI or TDI 1-3] w/20 (alternat*           Plaintiffs agree to
 (alternat* OR bespoke OR                  OR bespoke OR blend* OR                    Defendants’ proposal
 blend* OR categor* OR class*              categor* OR class* OR
 OR commodit* OR customize                 commodit* OR customize OR
 OR custom OR equivalen* OR                customize OR custom OR
 equal OR formula* OR fungible             equivalen* OR equal OR
 OR grade* OR interchang* OR               formula* OR fungible OR grade*
 instead)                                  OR interchang* OR instead)
 (lead w/3 time) w/25 (pric* OR            (lead w/3 time) w/10 (pric* OR             (lead w/3 time) w/15 (pric*
 supply OR cost* OR allocat* OR            supply OR cost* OR allocat* OR             OR supply OR cost* OR
 announc* OR product* OR                   announc* OR production* OR                 allocat* OR announc* OR
 output)                                   output)                                    production* OR product OR
                                                                                      products OR output)
 (our OR friend OR contact)                Strike                                     (our w/2 (friend OR
 w/10 (hear* OR told OR said OR                                                       contact)) w/10 (hear* OR
 email OR call OR text OR                                                             told OR said OR email OR
 message)                                                                             call OR text OR message)

Kind regards,
Sarah



Sarah R. LaFreniere   ​




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Sent: Monday, March 22, 2021 5:11 PM
To: Sarah R. LaFreniere <slafreniere@hausfeld.com>; Warren, Zachary <ZWarren@wc.com>;
Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT
<sam.choi@sidley.com>; Kerry Klein <kklein@fbjgk.com>; Myers, Jonathan R
<Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
  Case 2:18-mc-01001-WSH             Document 456-11         Filed 03/25/21      Page 6 of 17


eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Atkins, Alden L.
<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; MDI <mdi@hausfeld.com>;
Peter St. Tienne Wolff <PSW@Pietragallo.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Sarah,

Please see the attached response to your March 18 letter.

Best,
Brian


From: Sarah R. LaFreniere <slafreniere@hausfeld.com>
Sent: Thursday, March 18, 2021 8:36 PM
To: Schnapp, Brian <bschnapp@velaw.com>; Warren, Zachary <ZWarren@wc.com>; Jhunjhnuwala,
Trisha <tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Kerry
Klein <kklein@fbjgk.com>; Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David
(EXTERNAL CONTACT <dbrownstein@fbjgk.com>; Knight, Christopher A.
<CKnight@mayerbrown.com>; eunice.kim@sidley.com; Nowak, Richard
<RNowak@mayerbrown.com>; Schuman, Rachel (EXTERNAL CONTACT
<rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz, Andrew S.
<AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Atkins, Alden L.
<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; MDI <mdi@hausfeld.com>;
Peter St. Tienne Wolff <PSW@Pietragallo.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

[EXTERNAL]

Brian,

Please see attached response regarding TAR methodologies. We look forward to discussing
tomorrow.

We have not had a chance to review the search term proposal Zach Warren sent earlier today, and
will respond promptly.

Kind regards,
Sarah


Sarah R. LaFreniere   ​




Associate
   Case 2:18-mc-01001-WSH                     Document 456-11               Filed 03/25/21           Page 7 of 17


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Sent: Tuesday, March 16, 2021 9:09 PM
To: Sarah R. LaFreniere <slafreniere@hausfeld.com>; Warren, Zachary <ZWarren@wc.com>;
Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT
<sam.choi@sidley.com>; Kerry Klein <kklein@fbjgk.com>; Myers, Jonathan R
<Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Atkins, Alden L.
<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Sarah,

Please see the attached correspondence regarding Defendants’ TAR methodologies.

In addition, counsel for Huntsman will be following up with a further proposal regarding search
terms. In the meantime, we wanted to ask for your availability for a meet and confer regarding
search terms and TAR this week. Kindly let us know.

Best,
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Brian




 Brian D. Schnapp
 Counsel




 E    bschnapp@velaw.com           Vinson & Elkins LLP
 W   +1.202.639.6619               2200 Pennsylvania Avenue NW
                                   Suite 500 West
                                   Washington, DC 20037
      


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From: Sarah R. LaFreniere <slafreniere@hausfeld.com>
Sent: Thursday, March 11, 2021 8:27 PM
To: Warren, Zachary <ZWarren@wc.com>; Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi,
Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry
Klein <kklein@fbjgk.com>; Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David
(EXTERNAL CONTACT <dbrownstein@fbjgk.com>; Knight, Christopher A.
<CKnight@mayerbrown.com>; eunice.kim@sidley.com; Nowak, Richard
<RNowak@mayerbrown.com>; Schuman, Rachel (EXTERNAL CONTACT
<rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz, Andrew S.
<AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Schnapp, Brian
<bschnapp@velaw.com>; Atkins, Alden L. <AAtkins@velaw.com>; Jackson, Martin B.
<mjackson@sidley.com>; Marovitz, Andrew S. <AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

[EXTERNAL]

Counsel,

In advance of our meet and confer tomorrow regarding search terms and TAR, please see attached
search term counter-proposal. Plaintiffs provide this proposal without prejudice and subject to the
parties reaching agreement on TAR validation measures.

A few explanatory notes about our proposal, in column K:
      Terms in dispute are in purple
      Terms to which Plaintiffs have proposed revisions to are in green
      Terms which Plaintiffs are asking Defendants to run sampling on (for further discussion) are in
      blue
      Search terms the parties agree on have no color
      We opted to revert to the prior spreadsheet with our earlier positions for convenience.
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We look forward to discussing with you tomorrow afternoon.

Kind regards,
Sarah


Sarah R. LaFreniere   ​




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From: Warren, Zachary <ZWarren@wc.com>
Sent: Wednesday, March 10, 2021 9:52 AM
To: Sarah R. LaFreniere <slafreniere@hausfeld.com>; Jhunjhnuwala, Trisha
<tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Schnapp, Brian
<bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>; Myers, Jonathan R
<Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Schnapp, Brian
<bschnapp@velaw.com>; Atkins, Alden (EXTERNAL CONTACT) <AAtkins@velaw.com>; Jackson,
Martin B. <mjackson@sidley.com>; Marovitz, Andrew S. <AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review
 Case 2:18-mc-01001-WSH              Document 456-11          Filed 03/25/21       Page 10 of 17


Hi Sarah: We’re happy to add TAR to the agenda for Friday’s call. Will you be sending us anything in
advance of the call in an hour? Thanks, Zach

Zachary K. Warren
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725 Twelfth Street, N.W., Washington, DC 20005
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zwarren@wc.com | www.wc.com


From: Sarah R. LaFreniere <slafreniere@hausfeld.com>
Sent: Tuesday, March 09, 2021 7:43 PM
To: Warren, Zachary <ZWarren@wc.com>; Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi,
Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry
Klein <kklein@fbjgk.com>; Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David
(EXTERNAL CONTACT <dbrownstein@fbjgk.com>; Knight, Christopher A.
<CKnight@mayerbrown.com>; eunice.kim@sidley.com; Nowak, Richard
<RNowak@mayerbrown.com>; Schuman, Rachel (EXTERNAL CONTACT
<rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz, Andrew S.
<AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Schnapp, Brian
<bschnapp@velaw.com>; Atkins, Alden (EXTERNAL CONTACT) <AAtkins@velaw.com>; Jackson,
Martin B. <mjackson@sidley.com>; Marovitz, Andrew S. <AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Zach,

Plaintiffs are ready to discuss both TAR and search terms tomorrow and on Friday. We did not
realize that Defendants would not be prepared to discuss TAR on either of our scheduled calls this
week. Given the briefing deadline, we’re hoping to discuss TAR on Friday’s call. Let us know if you
can’t accommodate that.

We look forward to hearing from you tomorrow on our search questions.

-Sarah




Sarah R. LaFreniere​




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  Case 2:18-mc-01001-WSH                     Document 456-11               Filed 03/25/21           Page 11 of 17




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Sent: Tuesday, March 9, 2021 6:57 PM
To: Sarah R. LaFreniere <slafreniere@hausfeld.com>; Jhunjhnuwala, Trisha
<tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Schnapp, Brian
<bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>; Myers, Jonathan R
<Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Schnapp, Brian
<bschnapp@velaw.com>; Atkins, Alden (EXTERNAL CONTACT) <AAtkins@velaw.com>; Jackson,
Martin B. <mjackson@sidley.com>; Marovitz, Andrew S. <AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Hi Sarah: Thanks for your email. We’ll be prepared to respond to your questions below during our
call tomorrow. Per our prior discussions, we understood that tomorrow’s call would focus on search
terms, so the defense group hasn’t yet conferred about the TAR questions. We’ll do that tomorrow
and then propose some options for a meet-and-confer call to discuss those questions. Thanks, Zach

Zachary K. Warren
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 Case 2:18-mc-01001-WSH              Document 456-11          Filed 03/25/21      Page 12 of 17


zwarren@wc.com | www.wc.com


From: Sarah R. LaFreniere <slafreniere@hausfeld.com>
Sent: Tuesday, March 09, 2021 6:23 PM
To: Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT
<sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>;
Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Warren, Zachary
<ZWarren@wc.com>; Schnapp, Brian <bschnapp@velaw.com>; Atkins, Alden (EXTERNAL CONTACT)
<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>; Marovitz, Andrew S.
<AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Counsel,

Will you be able to provide us with the information raised on Friday’s call, and restated below, in
advance of tomorrow’s meet and confer? If not, we propose focusing tomorrow’s meet and confer
on Defendants’ TAR methodologies, specifically the matters raised in our February 26 and March 4,
2021 letters, and tabling search term discussions until Friday.

We look forward to discussing tomorrow.

Kind regards,
-Sarah


Sarah R. LaFreniere ​




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Sent: Tuesday, March 9, 2021 8:31 AM
To: Jhunjhnuwala, Trisha <tjhunjhnuwala@wc.com>; Choi, Sam (EXTERNAL CONTACT
<sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>;
Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
<dbrownstein@fbjgk.com>; Knight, Christopher A. <CKnight@mayerbrown.com>;
eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
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Andrew S. <AMarovitz@mayerbrown.com>; Streit, Ryan <rstreit@paulweiss.com>; Warren, Zachary
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<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>; Marovitz, Andrew S.
<AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: FW: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Counsel,

To follow up on our meet and confer Friday, Plaintiffs had a handful of questions regarding the scope
of Defendants hit reports. As we mentioned, we’re asking these preliminary questions to better
understand the scope of Defendants’ collections. 
There are a number of unanswered questions
from our prior correspondence, and we await your responses to those questions too.

        Do the hit counts include or exclude the DOJ productions? (i.e. is the total number of
        documents inclusive of any documents already produced to plaintiffs, or were those carved
        out of the population of documents used to create the hit repots?)

        Were the documents deduplicated across custodians for the purpose of running hit counts?

        Do the hit counts only represent unique documents (as to the total number of hits on the
        whole collection, not each term) or would a single search term found, say, five times in a
        single document reflect five hits?

        Do the hit counts include image files – in particular, the image files that sometimes inflate the
        count of a single email? (e.g. at the bottom of this email are two images that may cause this
        email to appear as three separate documents in a hit report)
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        Have Defendants estimated how many documents will need to be reviewed?

        Have Defendants run TAR on the collection (both with terms and without the terms) to
        determine a rough estimate of prevalence (i.e. the number of documents TAR is presently
        designating as likely responsive for the purpose of your review)?

        Have Defendants conducted any sampling on the terms proposed for deletion?


Kind regards,
Sarah



Sarah R. LaFreniere   ​




Associate
slafreniere@hausfeld.com
Pronouns: she/her/hers




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<sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>;
Myers, Jonathan R <Jonathan.Myers@stblaw.com>; Brownstein, David (EXTERNAL CONTACT
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<ZWarren@wc.com>; Schnapp, Brian <bschnapp@velaw.com>; Atkins, Alden (EXTERNAL CONTACT)
<AAtkins@velaw.com>; Jackson, Martin B. <mjackson@sidley.com>; Marovitz, Andrew S.
  Case 2:18-mc-01001-WSH                     Document 456-11               Filed 03/25/21           Page 15 of 17


<AMarovitz@mayerbrown.com>
Cc: Jason Hartley <hartley@hartleyllp.com>; WP@PIETRAGALLO.com; Megan E. Jones
<mjones@hausfeld.com>; Halli Spraggins <hspraggins@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: RE: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Counsel,

Please see attached correspondence. Please let us know when you are available to discuss.

Kind regards,
Sarah




Sarah R. LaFreniere   ​




Associate
slafreniere@hausfeld.com
Pronouns: she/her/hers




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<sam.choi@sidley.com>; Schnapp, Brian <bschnapp@velaw.com>; Kerry Klein <kklein@fbjgk.com>;
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eunice.kim@sidley.com; Nowak, Richard <RNowak@mayerbrown.com>; Schuman, Rachel
(EXTERNAL CONTACT <rschuman@paulweiss.com>; Ellis, Abram J <AEllis@stblaw.com>; Marovitz,
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<ZWarren@wc.com>; Choi, Sam (EXTERNAL CONTACT <sam.choi@sidley.com>; Schnapp, Brian
  Case 2:18-mc-01001-WSH                     Document 456-11                 Filed 03/25/21           Page 16 of 17


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Cc: Sarah R. LaFreniere <slafreniere@hausfeld.com>; Jason Hartley <hartley@hartleyllp.com>;
WP@PIETRAGALLO.com; Megan E. Jones <mjones@hausfeld.com>; MDI <mdi@hausfeld.com>
Subject: In re: Diisocyanates Antitrust Litigation MDL No. 2862 – Technology-Assisted Review

Counsel,

Please see attached letter from Plaintiffs regarding TAR.

Have a great weekend,
Halli




Halli Spraggins
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Pronouns: she/her




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